     2:22-cv-01307-RMG         Date Filed 08/10/23      Entry Number 146        Page 1 of 2




                          UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF SOUTH CAROLINA
                              CHARLESTON DIVISION

Nautilus Insurance Company,                               C/A No.: 2:22-cv-1307-RMG

                Plaintiff,
v.                                                   RESPONSE IN OPPOSITION TO
                                                   PLAINTIFF’S MOTION FOR LEAVE
Richard Alexander Murdaugh, Sr.; Cory                TO AMEND THE COMPLAINT
Fleming, Moss & Kuhn, P.A.; Chad
Westendorf; and Palmetto State Bank,

                Defendants.


       Defendant Richard Alexander Murdaugh, Sr., through undersigned counsel, hereby

responds in opposition to the motion of Plaintiff Nautilus Insurance Company for leave to amend

the amended complaint (ECF No. 134). Mr. Murdaugh opposes leave to file the proposed second

amended complaint because it fails to join necessary parties Michael (Tony) Satterfield and Brian

Harriott. Those parties are necessary to this action for the reasons set forth in Mr. Murdaugh’s

pending motion to compel joinder or to dismiss for failure to join necessary parties (ECF No. 133).

Mr. Murdaugh does not otherwise oppose leave to amend.

                                             Respectfully submitted,

                                             s/Phillip D. Barber
                                             Richard A. Harpootlian, Fed. ID No. 1730
                                             Phillip D. Barber, Fed. ID No.12816
                                             RICHARD A. HARPOOTLIAN, P.A.
                                             1410 Laurel Street (29201)
                                             Post Office Box 1090
                                             Columbia, SC 29201
                                             (803) 252-4848
                                             (803) 252-4810 (facsimile)
                                             rah@harpootlianlaw.com
                                             pdb@harpootlianlaw.com

                                             James M. Griffin, Fed. ID No. 1053
                                             Margaret N. Fox, Fed. ID No. 10576
    2:22-cv-01307-RMG       Date Filed 08/10/23   Entry Number 146      Page 2 of 2




                                       GRIFFIN DAVIS, LLC
                                       4408 Forest Dr., Suite 300 (29206)
                                       P.O. Box 999 (29202)
                                       Columbia, South Carolina
                                       (803) 744-0800
                                       jgriffin@griffindavislaw.com
                                       mfox@griffindavislaw.com

                                       ATTORNEYS FOR DEFENDANT RICHARD
                                       ALEXANDER MURDAUGH, SR.

August 10, 2023
Columbia, South Carolina.




                                          2
